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 6                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF CALIFORNIA
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 8   UNITED STATES OF AMERICA,                           OLD CASE NO: 2:19-CV-0547 JAM AC

 9                            Plaintiff,                 NEW CASE NO: 2:19-CV-0547 LJO EPG

10                     v.
                                                         RELATED CASE REASSIGNMENT
11   STATE WATER RESOURCES CONTROL                       ORDER
     BOARD & STATE WATER RESOURCES
12   CONTROL BOARD CHAIR E. JOAQUIN
     ESQUIVEL, in his official capacity,
13
                              Defendants.
14

15          Review of the above-captioned action reveals that it is related under this Court’s Local

16   Rule 123 to several actions before the undersigned, including Golden Gate Salmon Association,

17   et al. v. Ross, et al., 1:17-cv-01172-LJO-EPG; Bay.org, et al. v. Zinke, et al., 1:17-cv-01176-

18   LJO-EPG; and Natural Resources Defense Council, et al. v. Bernhardt, et al., 1:05-cv-01207-

19   LJO-EPG. While the subject of the above-captioned action is discrete in some respects, as it

20   concerns the operation of New Melones Reservoir, New Melones is part of an interconnected

21   water storage and delivery system, with central aspects of that system directly at issue in the

22   cases already before the undersigned. The above-captioned action also implicates state updates to

23   the Water Quality Control Plan for the San Francisco Bay/Sacramento-San Joaquin Delta

24   Estuary, updates that are intertwined with and form part of the baseline regulatory background
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 1   for the matters before the undersigned. At a bare minimum, any relief granted in the instant case

 2   may impact, interfere with, or be impacted by the other matters.

 3           Accordingly, assignment of the actions to the same district judge and magistrate judge

 4   will promote convenience, efficiency and economy for the Court and parties, and will help to

 5   avoid inconsistent judgments and potentially conflicting remedies. An order relating cases under

 6   this Court’s Local Rule 123 merely assigns them to the same district judge and magistrate judge,

 7   and no consolidation of cases is effected.

 8           United States District Judge John A. Mendez is in concurrence with the reasoning and

 9   result of this Order.

10           On the basis of good cause, this Court ORDERS that the above-captioned action is

11   reassigned to U.S. District Judge Lawrence J. O'Neill and U.S. Magistrate Judge Erica P.

12   Grosjean with NEW CASE NO: 2:19-CV-0547 LJO EPG. All documents shall bear the NEW

13   CASE NO: 2:19-CV-0547 LJO EPG and the reassignment to Judge O'Neill and Magistrate

14   Judge Grosjean.

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16   IT IS SO ORDERED.

17       Dated:     April 18, 2019                         /s/ Lawrence J. O’Neill _____
                                                  UNITED STATES CHIEF DISTRICT JUDGE
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